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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 HEADWATER RESEARCH LLC                         §
                                                §
 v.                                             §
                                                           Case No. 2:23-CV-0103-JRG-RSP
                                                §
 SAMSUNG ELECTRONICS AMERICA,                   §
 INC., ET AL.                                   §

                        Final Pretrial Conference and Motion Hearing
                          MAG. JUDGE ROY PAYNE PRESIDING
                                        March 24, 2025
 OPEN: 10:32 am                                               ADJOURN: 3:53 pm

 ATTORNEYS FOR PLAINTIFF:                            See attached

 ATTORNEY FOR DEFENDANTS:                            See attached

 LAW CLERK:                                          Nathan Gershengorin

 COURT REPORTER:                                     Shelly Holmes

 COURTROOM DEPUTY:                                   Wendy Asbel

 Court opened. Case called. Andrea Fair introduced co-counsel and announced ready. Melissa
 Smith introduced co-counsel and announced ready.

 Plaintiff’s Opposed Motion for Targeted Relief from Prejudice Caused by Samsung’s Discovery
 Violations Relating to Google (Dkt. No. 332). James Pickens argued for Plaintiff. The Motion
 was DENIED as untimely. Lance Yang responded for Defendants.

 The next topic was the amendments to the pretrial. Reza Mirzaie argued for Plaintiff. Thad
 Kodish responded. Sara Fish for Defendants informed the Court that the Dell Daubert motion is
 moot. Reza Mirzaie responded.

 The Court heard arguments on exhibit objections. Sara Fish argued for Defendants. Kris Davis
 responded for Plaintiff. The Court made rulings.

 After the lunch break, the parties continued arguing objections with the first bucket of exhibits.
 Sara Fish, Kyle Fleming, Jonathan Bright, and Thad Kodish presented for Defendants. Paul
 Kroeger, James Pickens, Kris Davis, James Tsuei, Jason Wietholter, Reza Mirzaie presented for
 Plaintiff.
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 The Court asked if counsel met after morning session and whether they were able to reach an
 agreement on MIL No. 2 regarding copying. Thad Kodish responded. Reza Mirzaie addressed the
 remaining disputes.

 Sara Fish spoke regarding deposition designations. James Tsuei responded.

 James Pickens spoke regarding Mr. Hansen’s testimony. Lance Yang responded.

 The Final Pretrial Conference was scheduled for April 16, 2025, at 1:30 pm.
